       Case 4:21-cv-03010 Document 7 Filed on 11/19/21 in TXSD Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JAMES BERNARD MCCULLUM,                       §§
                                              §§
       Plaintiff,                             §§
                                              §§     CASE NO. 4:21-cv-03010
vv..                                          §§
                                              §§
PHH MORTGAGE CORPORATION,                     §§
                                              §§
       Defendant.                             §§
              JOINT NOTICE/ADVISORY REGARDING SETTLEMENT
            AND AGREED MOTION FOR CONTINUANCE OF DEADLINES

       Plaintiff, James Bernard McCullum, ("Plaintiff'),
                                          (“Plaintiff”), and Defendant, PHH Mortgage

            (“Defendant”) (collectively the "Parties"),
Corporation ("Defendant")                   “Parties”), hereby file this Joint Notice/Advisory

Regarding Settlement and Agreed Motion for Continuance of Deadlines.

       The Parties have reached a settlement in principle of this action and are in the process of

finalizing settlement terms and memorializing the settlement terms in a comprehensive

settlement and release agreement and other related documents, so that the settlement terms may

be effected. Once the final settlement terms are reached, the settlement documents will be

finalized, reviewed and executed by the Parties and dismissal pleadings filed in this action.

       To avoid additional costs of litigation and use of this Court's
                                                               Court’s resources, and to allow time

for finalization of the settlement, the Parties have agreed, and request the Court's
                                                                             Court’s approval, to

continue and suspend this action and any pending deadlines for a period of 60 days. There is no

Scheduling Order in place for this action and the only current filing deadline is to submit a

proposed scheduling order and joint discovery and case management plan by November 23,

                                                                           Court’s docket will
2021, which will be rendered moot in light of the settlement. As such, the Court's

not be impacted by the requested relief. The Parties shall submit appropriate dismissal pleadings


______________________________________________________________________________
Joint Notice/Advisory Regarding Settlement and Agreed Motion for Continuance of Deadlines Page 1
      Case 4:21-cv-03010 Document 7 Filed on 11/19/21 in TXSD Page 2 of 3




to the Court within that time period or, if that is not possible, shall file a further Advisory with

the Court advising as to the status of settlement.

       The Parties file this Notice/Advisory and Agreed Motion subject to and without waiver of

any and all rights or defenses in this cause. A proposed Agreed Order has been submitted

herewith.

       WHEREFORE, Plaintiff and Defendant respectfully request that this Court take notice of

this Notice/Advisory and all matters addressed herein, and order continuance and suspension of

this action and all deadlines for a period of 60 days to allow the Parties to finalize their

settlement and submit appropriate dismissal pleadings to the Court.




______________________________________________________________________________
Joint Notice/Advisory Regarding Settlement and Agreed Motion for Continuance of Deadlines Page 2
      Case 4:21-cv-03010 Document 7 Filed on 11/19/21 in TXSD Page 3 of 3




November 19 , 2021

Jointly Respectfully Submitted and Agreed:

 SHACKELFORD & ASSOCIATES,
 SHACKELFORD   ASSOCIATES, LLC                    DYKEMA G
                                                  DYKEMA GOSSETT
                                                           OSSETT PLLC

       /s/ Ray L. Shackelford (signed with
 By: /s/                                               /s/ Brett W.
                                                  By: Is/        W. Schouest
 permission)                                      Brett W. Schouest
 Ray L. Shackelford                               State Bar No. 17807700
 State Bar No. 18071500                           Southern District I.D. No. 15356
 rshackctic@yahoo.com                             bschouest@dykema.com
                                                  Carrie C. Gorner
 1406 Southmore Blvd.                             State Bar No. 24101198
 Houston, Texas 77004                             Southern District I.D. No. 3709663
 (713) 520-8484                                   cgorner@dykema.com
 (713) 520-8192 (Fax)
                                                  112 E. Pecan, Suite 1800
           for Plaintiff
 Attorneys for Plaintiff                          San Antonio, TX 78205
                                                  (210) 554-5500
                                                  (210) 226-8395 (Fax)

                                                              for Defendant
                                                    Attorneys for




______________________________________________________________________________
Joint Notice/Advisory Regarding Settlement and Agreed Motion for Continuance of Deadlines   Page 3
